            Case 1:21-cv-03341-TWT Document 1 Filed 08/17/21 Page 1 of 9




               IN THE UNITED STATES DISTRICT COURT FOR
                  THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

 EUGENE HENRIQUEZ,

       Plaintiff,                             Civil Action No. _____________

 v.

 ATM RESPONSE, INC., and                      JURY TRIAL DEMANDED
 CLAYTON BRASWELL,

        Defendants.

                                   COMPLAINT

       Plaintiff Eugene Henriquez (“Plaintiff”) brings this action against Defendants

ATM Response, Inc. (“ATM Response”) and Clayton Braswell (collectively,

“Defendants”) pursuant to the Fair Labor Standards Act of 1938, 29 U.S.C. §§ 201

et seq. (the “FLSA”). He seeks unpaid overtime wages, liquidated damages, interest,

and attorneys’ fees and costs.

      NATURE OF THE ACTION AND SUMMARY OF ALLEGATIONS

       1.      This is an action for unpaid overtime wages under the FLSA.

Defendants violated the FLSA by improperly classifying Plaintiff as an independent

contractor within the three years prior to the filing of this Complaint, and by failing




                                          1
            Case 1:21-cv-03341-TWT Document 1 Filed 08/17/21 Page 2 of 9




to pay him overtime wages at one-and-one-half his regular rate when he worked in

excess of forty (40) hours per week.

       2.      As a result of Defendants’ violations of the FLSA, Plaintiff is entitled

to recover from Defendants: (a) unpaid overtime wages; (b) an additional and equal

amount of liquidated damages; (c) interest; and (d) reasonable attorneys’ fees and

costs of litigation.

                           JURISDICTION AND VENUE

       3.      This is an action for unpaid overtime wages under the FLSA. Pursuant

to 28 U.S.C. § 1331, this Court has federal-question jurisdiction over this Complaint.

       4.      Venue is proper in this district and division pursuant to 28 U.S.C.

§ 1391(b)(2) because a substantial part of the events and omissions giving rise to

this Complaint occurred within the Northern District of Georgia.

                                       PARTIES

       5.      ATM Response is a for-profit Georgia corporation that is licensed to

conduct business in Georgia. ATM Response is headquartered at 3475 Corporate

Way, Suite D, Duluth, Georgia 30096.

       6.      ATM Response may be served with process via its registered agent:

Clayton Braswell, 3475 Corporate Way, Suite D, Duluth, Georgia 30096.




                                           2
              Case 1:21-cv-03341-TWT Document 1 Filed 08/17/21 Page 3 of 9




         7.      ATM Response and Defendant Braswell were Plaintiff’s employers

under the FLSA at all times relevant to this Complaint.

         8.      Defendant Braswell is the owner and Chief Executive Officer of ATM

Response. Mr. Braswell conducts business in the Northern District of Georgia.

Mr. Braswell is a Georgia resident.

         9.      At all relevant times, Defendants were employers engaged in interstate

commerce within the meaning of the FLSA, 29 U.S.C. § 207.

         10.     Defendant ATM Response had gross annual revenues in excess of

$500,000.00 at all relevant times.

         11.     At all relevant times, Defendant Braswell asserted control of ATM

Response’s day-to-day operations, had ultimate responsibility for the supervision of

Plaintiff, and made the decision not to pay Plaintiff overtime wages as required by

the FLSA. Therefore, Mr. Braswell is an “employer” within the meaning of the

FLSA.

         12.     Defendants employed Plaintiff from on or about July 16, 2019, to

present. Plaintiff’s current position is ATM Technician, but he is presently out on

leave.




                                             3
           Case 1:21-cv-03341-TWT Document 1 Filed 08/17/21 Page 4 of 9




                            STATEMENT OF FACTS

       13.    ATM Response is in the business of servicing and maintaining

automatic teller machines (“ATMs”), as well as providing other cash services to

clients.

       14.    From on or about July 19, 2019, to present, Defendants have employed

Plaintiff. His current position is ATM Technician.

       15.    From approximately July 2019 until approximately July 2020,

Defendants misclassified Plaintiff as an independent contractor.

       16.    Throughout the period in which Defendants misclassified Plaintiff as

an independent contractor, Defendants paid him a set hourly rate for all time worked

on the clock. His current hourly rate is $17.00 per hour.

       17.    Defendants’ misclassification of Plaintiff as an independent contractor

applied from approximately July 2019 until approximately July 2020, when

Defendants reclassified Plaintiff as an employee.

       18.    Plaintiff worked at Defendants’ facilities, and/or in the field at the

direction of, and using equipment provided by, Defendants.

       19.    Defendants directed Plaintiff’s day-to-day job activities including,

without limitation: setting his regular work schedule, setting his rate of pay,

assigning his work, and determining his work location.


                                          4
          Case 1:21-cv-03341-TWT Document 1 Filed 08/17/21 Page 5 of 9




      20.     Defendants provided materially all the investment in the facilities and

equipment Plaintiff used to perform his job, including providing: the means of

transportation required to travel to ATM service locations, such as work vehicles;

the tools necessary to service ATM machines; the software systems Plaintiff used

while working; computers and phones; training; and email.

      21.     Plaintiff made little if any investment in Defendants’ business

enterprise.

      22.     Plaintiff’s wages depended entirely on the number of hours that he

worked at the rate set by Defendants. Managerial skill and individual initiative were

not material factors in Plaintiff’s compensation because, inter alia, his job duties

were assigned and controlled by Defendants, Defendants controlled his schedules,

and he was compensated based on the number of hours that he worked.

      23.     Plaintiff worked substantial hours in excess of 40 per week, as required

by Defendants.

      24.     Defendants knew or should have known that Plaintiff worked

substantial hours in excess of 40 per week.         Indeed, Defendants had actual

knowledge of Plaintiff’s time worked in excess of 40 hours per week during the

relevant time period because Defendants paid Plaintiff straight time for all hours

worked.


                                          5
         Case 1:21-cv-03341-TWT Document 1 Filed 08/17/21 Page 6 of 9




      25.    On information and belief, Defendants possess records of the time

worked by Plaintiff.

      26.    Despite Defendants’ knowledge of overtime worked by Plaintiff,

Defendants continued their practice of classifying Plaintiff as an independent

contractor. Defendants required, encouraged, and knowingly permitted Plaintiff to

work overtime hours, and failed to pay Plaintiff required overtime premium pay

when he worked overtime hours.

      27.    Defendants did not compensate Plaintiff for all time worked in excess

of 40 hours per week at the rate required by the FLSA, which is one-and-one-half

his regular rate.

      28.    Defendants’ failure to pay Plaintiff one-and-one-half his regular rate of

pay for the time that he worked in excess of 40 per week was pursuant to a policy

and practice Defendants intentionally applied to Plaintiff.

      29.    Defendants’ failure to pay Plaintiff one-and-one-half his regular rate of

pay for all hours worked in excess of 40 per week was pursuant to a policy and

practice that Defendants intentionally applied to Plaintiff.




                                          6
        Case 1:21-cv-03341-TWT Document 1 Filed 08/17/21 Page 7 of 9




                                    COUNT I
            Willful Failure to Pay Overtime in Violation of the FLSA

      30.    Defendants violated the FLSA by failing to pay Plaintiff overtime at a

rate of one-and-one-half his regular rate for hours worked in excess of 40 per week.

      31.    At all relevant times, Plaintiff was engaged in commerce within the

meaning of the FLSA, 29 U.S.C. § 207.

      32.    The overtime wage provisions set forth in the FLSA apply to

Defendants and protect Plaintiff.

      33.    At all relevant times, Defendants employed Plaintiff within the

meaning of the FLSA.

      34.    Throughout the relevant time period, Defendants misclassified Plaintiff

as an independent contractor.

      35.    Throughout the relevant time period, Plaintiff regularly worked in

excess of 40 hours per week.

      36.    Throughout the relevant time period, Defendants failed to pay Plaintiff

at one-and-one-half his regular rate for time worked in excess of 40 hours per week.

      37.    As a result of Defendants’ willful failure to compensate Plaintiff at

one-and-one-half his regular rate for hours worked in excess of 40 per week,

Defendants violated the FLSA, including 29 U.S.C. §§ 207(a)(1) and 215(a).



                                         7
           Case 1:21-cv-03341-TWT Document 1 Filed 08/17/21 Page 8 of 9




      38.     The foregoing conduct, as alleged, constitutes a willful violation of the

FLSA within the meaning of 29 U.S.C. § 255(a). Because Defendants’ violations of

the FLSA were willful, a three-year statute of limitations applies, pursuant to

29 U.S.C. § 255.

      39.     Defendants did not make a good-faith effort to comply with the FLSA

with respect to their compensation of Plaintiff.

      40.     Due to Defendants’ FLSA violations, Plaintiff is entitled to recover

from Defendants: (a) his unpaid overtime wages for all of the hours that he worked

in excess of 40 per week; (b) an additional and equal amount as liquidated damages

for Defendants’ willful violations of the FLSA; (c) interest; and (d) reasonable

attorneys’ fees and costs of litigation.

                              PRAYER FOR RELIEF

      WHEREFORE, Plaintiff demands a TRIAL BY JURY and entry of a

judgment granting the following relief:

      a.      A declaratory judgment that the practices complained of herein are

              unlawful under the FLSA;

      b.      Application of the FLSA’s three-year statute of limitations;

      c.      An award of unpaid overtime compensation due under the FLSA;

      d.      An award of liquidated damages;


                                           8
     Case 1:21-cv-03341-TWT Document 1 Filed 08/17/21 Page 9 of 9




e.      An award of prejudgment and post-judgment interest;

f.      An award of costs and expenses of this action, together with reasonable

        attorneys’ and expert fees; and

g.      Such other and further relief as this Court deems just and proper.

Respectfully submitted, this 17th day of August 2021.

                                          /s/ Justin M. Scott
                                          Justin M. Scott
                                          Georgia Bar No. 557463
                                          Michael David Forrest
                                          Georgia Bar No. 974300
                                          Scott Employment Law, P.C.
                                          160 Clairemont Avenue, Suite 610
                                          Decatur, Georgia 30030
                                          Telephone: 678.780.4880
                                          Facsimile: 478.575.2590
                                          jscott@scottemploymentlaw.com
                                          mforrest@scottemploymentlaw.com

                                          Counsel for Plaintiff




                                    9
